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RAÚL R. LABRADOR
STATE OF IDAHO, ATTORNEY GENERAL

James E. M. Craig
Chief, Civil Litigation Division

Joseph M. Aldridge
ISB #9194; jma@sgaidaho.com
Special Deputy Attorney General
Keegan C. Hahn
ISB #11298; kch@sgaidaho.com
SCANLAN GRIFFITHS + ALDRIDGE
913 W. River Street, Suite 310
Boise, Idaho 83702
Telephone (208) 991-1200
Fax (208) 908-0043

Attorneys for Idaho Department
of Health and Welfare, Dave Jeppesen,
and Roxanne Printz


                              UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO

 DIEGO RODRIGUEZ, individually; LEVI
 ANDERSON, individually; MARISSA          Case No. 1:24-cv-00159
 ANDERSON, individually; MIRANDA
 CHAVOYA, individually
                                          MEMORANDUM IN SUPPORT OF
                Plaintiffs,               STATE DEFENDANTS’ MOTION TO
                                          DISMISS FOR INSUFFICIENT
 vs.                                      SERVICE OF PROCESS

 ST. LUKE'S HOSPITAL, a corporation;
 IDAHO DEPARTMENT OF HEALTH
 AND WELFARE, a corporation; DAVE
 JEPPESEN, an individual; TRACY
 JUNGMAN, an individual; ROXA E
 PRINTZ, an individual; CITY OF
 MERIDIAN, a municipal corporation;
 KELSEY JOHNSTON, an individual;
 JEFF FULLER, an individual; STEVEN
 HANSEN, an individual; SEAN KING, an
 individual; KENNETH CAYGLE, an

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    individual; CHRISTOPHER
    MCGILVERY, an individual; CHIEF
    TRACY BASTERRECHEA,
    an individual; and DOES 1-X, inclusive,
    unknown parties

                  Defendants.




          COME NOW Defendants the Idaho Department of Health and Welfare, Dave Jeppesen,

and Roxanne Printz (collectively “State Defendants”) move, pursuant to Federal Rules of Civil

Procedure 12(b)(2) and 12(b)(5) to dismiss the Complaint and Demand for Jury Trial [Dkt. 1]

(“Complaint”) filed by Plaintiffs Diego Rodriguez, Levi Anderson, Marissa Anderson, and

Miranda Chavoya (collectively “Plaintiffs”) for lack of personal jurisdiction and failure to properly

effectuate service of process on the State Defendants.

                                     I.       INTRODUCTION

          Plaintiffs filed their Complaint on March 8, 2024, in the United States District Court for

the Middle District of Florida. On March 27, 2024, the lawsuit was transferred to this District by

the Florida federal court. [Dkt. 6]. Since that time, no summons has been issued, and the Plaintiffs

have failed to serve the State Defendants as required by the Federal Rules of Civil Procedure,

despite it being 141 days from the date of this filing since the case was transferred to the District

of Idaho. Therefore, Plaintiffs’ Complaint should be dismissed against the State Defendants. 1




1
  The other named Defendants also have an outstanding Motion to Dismiss based on the Plaintiffs’
failure to properly serve the parties. On July 17, 2024, the St. Luke’s Defendants filed their Motion
to Dismiss for Insufficient Service of Process [Dkt. 9]. On July 26, 2024, the Meridian Defendants
joined the St. Luke’s Motion to Dismiss [Dkt. 14]. To date, Plaintiffs have not responded to the
pending Motion to Dismiss.

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                                       II.     ARGUMENT

       “A federal court does not have jurisdiction over a defendant unless the defendant has been

properly served under Fed. R. Civ. P. 4.” Direct Mail Specialists, Inc. v. Eclat Computerized

Techs., Inc., 840 F.2d 685, 688 (9th Cir. 1988). “[N]either actual notice nor simply naming the

defendant in the complaint will provide personal jurisdiction without ‘substantial compliance with

Rule 4.’” Benny v. Pipes, 799 F.2d 489, 492 (9th Cir. 1986) (quoting Jackson v. Hayakawa, 682

F.2d 1344, 1347 (9th Cir. 1982)).

       A plaintiff must serve a defendant within 90 days after filing a complaint in federal court.

Fed. R. Civ. P. 4(m). When a plaintiff fails to timely serve a defendant, the court “must dismiss

the action without prejudice against that defendant or order that service be made within a specified

time. But if the plaintiff shows good cause for the failure, the court must extend the time for service

for an appropriate period.” Fed. R. Civ. P. 4(m). “A party who has not been served in accordance

with Rule 4(m) may invoke Rule 12(b)(2) and/or 12(b)(5) in support of a motion to dismiss.”

Larimore v. Heiss Invs., LLC, No. 1:23-CV-00086-DCN, 2024 WL 943048, at *1 (D. Idaho Mar.

5, 2024).

       Under the Federal Rules of Civil Procedure, service on a state government must occur by

one of two methods:

       A state, a municipal corporation, or any other state-created governmental
       organization that is subject to suit must be served by:
              (A) delivering a copy of the summons and of the complaint to its chief
              executive officer; or
              (B) serving a copy of each in the manner prescribed by that state’s law for
              serving a summons or like process on such a defendant.

Fed. R. Civ. P. 4(j)(2)(A)–(B).

       For individuals, Rule 4 allows service by any means permitted by state law, or by “(A)

delivering a copy of the summons and of the complaint to the individual personally; (B) leaving a

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copy of each at the individual's dwelling or usual place of abode with someone of suitable age and

discretion who resides there; or (C) delivering a copy of each to an agent authorized by

appointment or by law to receive service of process.” Fed. R. Civ. P. 4(e).

       “In the Ninth Circuit, a motion to dismiss based on a plaintiff's untimely service requires a

two-step analysis: ‘First, upon a showing of good cause for the defective service, the court must

extend the time period. Second, if there is no good cause, the court has the discretion to dismiss

without prejudice or to extend the time period.’” Larimore, No. 1:23-CV-00086-DCN, 2024 WL

943048, at *2 (quoting In re Sheehan, 253 F.3d 507, 512 (9th Cir. 2001)). The Ninth Circuit has

noted that good cause requires a plaintiff to show at least “excusable neglect” and to establish good

cause, “a plaintiff may also be required to show ‘(a) the party to be served personally received

actual notice of the lawsuit; (b) the defendant would suffer no prejudice; and (c) plaintiff would

be severely prejudiced if his complaint were dismissed.” Id. (quoting Boudette v. Barnette, 923

F.2d 754, 756 (9th Cir. 1991)).

       As to the second step, the Ninth Circuit has not articulated a specific test that a court must

apply when exercising its discretion. Id. (citing Sheehan, 253 F.3d at 513). “However, it has noted

that if a plaintiff cannot establish good cause, the district court has broad discretion regarding how

to proceed. If, in exercising that discretion, a court declines to extend the period for the service of

process, it must dismiss the complaint without prejudice.” Id. (citing Sheehan, 253 F.3d at 513)

(internal citation omitted) (dismissing plaintiff’s complaint without prejudice after the plaintiff’s

service on the defendant was untimely, and the plaintiff did not show good cause or excusable

neglect). See also Olsen v. City of Boise, Idaho, No. 1:20-CV-00478-DCN, 2022 WL 137976, at

*3 (D. Idaho Jan. 13, 2022) (dismissing the claims against the defendants after the plaintiff failed

to timely serve or show good cause).


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       In the present case, the Plaintiffs have not properly served the State Defendants, and are

well past the 90-day limit provided in Rule 4(m). As of the date of this filing, it has been 160 days

since the Plaintiffs initially filed their Complaint in Florida and 141 days since the case was

transferred to the District of Idaho. To date, no summons has been issued and the State Defendants

have not been served as required by Rule 4. As such, the State Defendants request Plaintiffs’

Complaint be dismissed pursuant to Rules 12(b)(2) and 12(b)(5).

                                     III.    CONCLUSION

       For the above stated reasons, Plaintiffs’ Complaint against the State Defendants should be

dismissed without prejudice.

       DATED August 15, 2024.         SCANLAN GRIFFITHS + ALDRIDGE



                                      By      /s/ Joseph M. Aldridge
                                              Joseph M. Aldridge – Of the Firm




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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 15, 2024, I electronically filed the foregoing
document using the ECF system, I also served the foregoing on the following non-CM/ECF
Registered Participants in the manner indicated:

Diego Rodriguez                             U.S. Mail, Postage Prepaid
Levi Anderson                               Facsimile
Marissa Anderson                            Email
Miranda Chavoya                             freedommanpress@protonmail.com
1317 Edgewater Dr. #5077
Orlando, FL 32804



                                       /s/Joseph M. Aldridge
                                       Joseph M. Aldridge




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